AO 399 (01/09) Waiver of the Service of Summons

                                    UNITED STATES DISTRICT COURT
                                                                     for the
                                                            Northern District of Ohio

                   Lower Brule Sioux Tribe                                )
                               Plaintiff                                  )
                          v.                                              )       Civil Action No. 1:19-op-45350-DAP
        AmerisourceBergen Drug Corporation et al                          )
                              Defendant                                   )

                                             WAIVER OF THE SERVICE OF SUMMONS

To:       Peter J. Mougey
                (Name of the plaintiff’s attorney or unrepresented plaintiff)

        I have received your request to waive service of a summons in this action along with a copy of the complaint,
two copies of this waiver form, and a prepaid means of returning one signed copy of the form to you.
           I, or the entity I represent, agree to save the expense of serving a summons and complaint in this case.
          I understand that I, or the entity I represent, will keep all defenses or objections to the lawsuit, the court’s
jurisdiction, and the venue of the action, but that I waive any objections to the absence of a summons or of service.
        The Court’s moratorium on all filings includes a moratorium on the filing of answers or motions under Rule 12.
Defendants will not answer or move under Rule 12 unless so ordered by the Court. The failure to file an answer or
motion under Rule 12 will not be grounds for a default judgment.


Date:     8/11/2020                                                                                 s/ Christopher Essig
                                                                                        Signature of the attorney or unrepresented party
  West-Ward Pharmaceuticals Corporation nka                                                           Christopher Essig
       Hikma Pharmaceuticals USA Inc.
      Printed name of party waiving service of summons                                                     Printed name
                                                                                                WINSTON & STRAWN LLP
                                                                                                   35 W. Wacker Drive
                                                                                                    Chicago, IL 60601
                                                                                                              Address
                                                                                                    Cessig@winston.com
                                                                                                          E-mail address
                                                                                                        (312) 558-5600
                                                                                                        Telephone number


                                           Duty to Avoid Unnecessary Expenses of Serving a Summons
           Rule 4 of the Federal Rules of Civil Procedure requires certain defendants to cooperate in saving unnecessary expenses of serving a
summons and complaint. A defendant who is located in the United States and who fails to return a signed waiver of service requested by a plaintiff
located in the United States will be required to pay the expenses of service, unless the defendant shows good cause for the failure.
           “Good cause” does not include a belief that the lawsuit is groundless, or that it has been brought in an improper venue, or that the court has
no jurisdiction over this matter or over the defendant or the defendant’s property.
        If the waiver is signed and returned, you can still make these and all other defenses and objections, but you cannot object to the absence of
a summons or of service.
            If you waive service, then you must, within the time specified on the waiver form, serve an answer or a motion under Rule 12 on the
plaintiff and file a copy with the court. By signing and returning the waiver form, you are allowed more time to respond than if a summons had been
served.
